Case 2:24-cv-12106-DPH-APP ECF No. 23, PagelD.453 Filed 05/27/25 Page 1 of 16

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
RICHMOND MAIN, LLC,

A Michigan Limited Liability Company Hon. Denise Page Hood
Plaintiff, Case No. 2:24-cv-12106

VS.

FRENCHTOWN SQUARE PARTNERSHIP,
An Ohio General Partnership

Defendant.
/

PHILLIP A. GREENBLATT, PLLC PHILIP A. COSTELLO, PLLC
Phillip A. Greenblatt (P54170) Philip A. Costello (P36075)
Attorney for Plaintiff Attorney for Defendant
P.O. Box 4270 111 S. Macomb Street
Southfield, Michigan 48037 Monroe, Michigan 48161
(248) 227-7350 (734) 241-8300
phil@phillipagreenblattplic.com pascostello@brblaw.net

MOTION TO COMPEL PLAINTIFF’S RESPONSE TO
DEFENDANT’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS

Now comes Defendant, Frenchtown Square Partnership
(“Defendant”), in accordance with Fed. R. Civ. Pro. 37 and Local Rule 37,
and moves the Court for entry of an order compelling Plaintiff, Richmond
Main, LLC (“Plaintiff”), to appropriately respond to Defendant's First Request
for a Production of Documents. The Request was served on February 14,
2025. Plaintiff provided its responses on March 22, 2025, however, the

responses were incomplete and contained entirely improper objections.
Case 2:24-cv-12106-DPH-APP ECF No. 23, PagelD.454 Filed 05/27/25 Page 2 of 16

Defendant informed Plaintiff of its deficiencies on April 3, 2025. Despite the
subsequent reminders from Defendant, Plaintiff and its legal counsel have
failed to supplement its deficient production. Defendant has in good faith
attempted to confer with Plaintiff's legal counsel to obtain the documents
without court action. Unfortunately, this motion to compel has become
necessary. The reasons for granting this Motion are outlined in the attached

Memorandum in Support.

Respectfully Submitted,

Is/ ADL eE

Philip &. Géstello (P36075)
Attorney for Defendant
111 S. Macomb Street
Monroe, Michigan 48161
(734) 241-8300
pascostello@brblaw.net

Dated: Lay 2] ZZ

Case 2:24-cv-12106-DPH-APP ECF No. 23, PagelD.455 Filed 05/27/25 Page 3 of 16

MEMORANDUM IN SUPPORT

I. BACKGROUND OF THE CASE

Defendant and Plaintiff entered into a Settlement Agreement regarding
the payment of various fees and maintenance requirements under an
Operating and Easement Agreement. Plaintiff, amongst other items, now
alleges that it was fraudulently induced into signing the Settlement
Agreement and filed suit against Defendant on July 11, 2024. Defendant
served its First Set of Requests for the Production of Documents on Plaintiff
on February 14, 2025. (See Exhibit A). Defendant issued the following
requests for production of documents to Plaintiff:

1. Records of each, any and all communications between you and
Target Corporation related in any manner to the Target Tract.

2. Records of each, any and all communications between you and
Frenchtown Square Partnership related in any manner to the
Target Tract.

3. Records of each, any and all communications between you and
any insurance company, insurance agency and/or insurance
broker related in any manner to the Target Tract.

4. Bids, quotes, estimates and records of communications between

you and any contractor or paving company related in any manner
3
Case 2:24-cv-12106-DPH-APP ECF No. 23, PagelD.456 Filed 05/27/25 Page 4 of 16

7.

to the Target Tract.

Records of any appraisal(s) and evaluation(s) of the Target Tract.

Records of any examination, investigation or inspection of the

Target Tract.

Records relating to the allegations of fraud in the Complaint.

On or about March 22, 2025, Plaintiff provided its response to

Defendant’s First Request for Production of Documents. However, this

response was incomplete and deficient in multiple respects. Specifically:

i.

Plaintiff improperly objected to Request No. 1, asserting Defendant
would somehow have possession of communications to a sale of

land it was not a party to.

. In Plaintiffs response to Request No. 2, provided electronic

communications but failed to provide include the attachments.
Plaintiff improperly objected to Request Nos. 3, 4, 5, & 6 by claiming
the requests were irrelevant to the litigation, despite the fact Plaintiff
raised points directly related to such requests in its Complaint.
Plaintiff's responses to Request Nos. 1 through 6 were also
incomplete because Plaintiff failed to produce relevant documents

because they were in possession of Plaintiff's prior counsel.
Case 2:24-cv-12106-DPH-APP ECF No. 23, PagelD.457 Filed 05/27/25 Page 5 of 16

Recognizing these deficiencies, Defendant sent Plaintiff a detailed
letter on April 3, 2025, outlining the above-listed issues and requesting that
Plaintiff promptly supplement its production to ensure compliance with its
discovery obligations. (See Exhibit B).

Defendant's counsel subsequently inquired with Plaintiff regarding the
expected timeline for providing the supplemental documents. On that same
day, Plaintiffs counsel assured Defendant that the requested materials
would be produced in the following week. (See Exhibit B). Despite follow up
communications and efforts to obtain the necessary documents, Plaintiff
has still failed to adequately respond.

ll. LAW ON DISCOVERY

All of Defendant's discovery requests are appropriate under of Fed. R.
Civ. Pro. 26(b), which generally governs the allowable scope of discovery
requests. As a result, Plaintiff is required to timely and appropriately respond

to the same pursuant to Fed. R. Civ. Pro, 34. (“The party upon whom the
request is directed must respond in writing within 30 days after being served
....). Plaintiff has failed to do so. Fed. R. Civ. Pro. 37 provides remedies
when an opposing party fails to cooperate with discovery and authorizes the
filing of a motion to compel discovery. Additionally, Fed. R. Civ. Pro. 37

requires the aggrieved party to make a reasonable effort to resolve the
5
Case 2:24-cv-12106-DPH-APP ECF No. 23, PagelD.458 Filed 05/27/25 Page 6 of 16

matter through discussion with the attorney, unrepresented party, or person
from whom discovery is sought prior to filing a motion to compel. Defendant
did this, and Plaintiff has still not issued the appropriate responses.
Therefore, Plaintiff should be ordered to provide complete responses to
Defendant's First Request for Production of Documents.
lll. CONCLUSION

Plaintiff Frenchtown Square Partnership, in accordance with Fed. R.
Civ. Pro. 37 and Local Rule 37, asks the Court for entry of an order
compelling Plaintiff Richmond Main, LLC to completely and appropriately
respond to Defendant's First Request for Production of Documents by

producing to Defendant all of the responses and documents requested

therein within twenty-eight (28) days.

Respectfully Submitted,

/s/ getenatt.

Philip A. Costello (P36075)
Attorney for Defendant

111 S. Macomb Street
Monroe, Michigan 48161
(734) 241-8300
pascostello@brblaw.net

Dated: fy 2, F a

Case 2:24-cv-12106-DPH-APP ECF No. 23, PagelD.459 Filed 05/27/25 Page 7 of 16

CERTIFICATION OF SERVICE

This is to certify that a copy of the foregoing Motion to Compel
Plaintiff's Response to Defendant's First Request for Production of

Documents was sent by email to Attorney Phillip A. Greenblatt at

TH
phil@phillipagreenblattplic.com this Z Z day of May 2025.

Respectfully Submitted,

/s/ ZEEE

PhilieA‘ Costello (P36075)
Attorney for Defendant
pascostello@brblaw.net

Case 2:24-cv-12106-DPH-APP ECF No. 23, PagelD.460 Filed 05/27/25 Page 8 of 16

EXHIBIT A.
. . } . of 16
as

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

RICHMOND MAIN, LLC,

A Michigan Limited Liability Company Hon. Denise Page Hood
Plaintiff, Civil Action No. 2:24-cv-12106

VS.

FRENCHTOWN SQUARE PARTNERSHIP,
An Ohio General Partnership

Defendant.

/
PHILLIP A. GREENBLATT, PLLC PHILIP A. COSTELLO, PLLC
Phillip A. Greenblatt (P54170) Philip A. Costello (P36075)
Attorney for Plaintiff Attorney for Defendant
P.O. Box 4270 111 S. Macomb Street
Southfield, Michigan 48037 Monroe, Michigan 4816]
(248) 227-7350 (734) 241-8300
phil@phillipagreenblattplic.com pacostello@brblaw.net

DEFENDANT'S REQUESTS FOR THE PRODUCTION OF DOCUMENTS
AND ELECTRONICALLY STORED INF ORMATION

within 28 days,

In these requests, “you” or “your” refer to Richmond Main, LLC, its officers,

agents, representatives, members, managers and employees, and anyone acting on
its or their behalf.

By “record” these requests mean the original and any copies of any documents,
including, without limitation, any correspondence, writings, emails, texts, meeting
0 of 16
Case 2:24-cv-12106-DPH-APP ECF No. 23, PagelD.462 Filed 05/27/25 Page 1

minutes, notes, photographs, audio, visual material, and electronically stored
information in any format.

By the “Target Tract” these requests mean the Target Tract as defined in the

Assignment and Assumption of Operation and Easement Agreement dated on or
about May 12, 2021.

DOCUMENTS AND ESI REQUESTED.
1. Records of each, any and all communication between you and Target

Corporation related in any manner to the Target Tract,

RESPONSE:

2. Records of each, any and all communications between you and Frenchtown

Square Partnership related in any manner to the Target Tract.

RESPONSE:

3. Records of each, any and all communications between you and any insurance
company, insurance agency and/or insurance broker related in any manner to

the Target Tract.
f 16
Case 2:24-cv-12106-DPH-APP ECF No. 23, PagelD.463 Filed 05/27/25 Page 110

RESPONSE:

4. Bids, quotes, estimates and records of communications between you and any

contractor or paving company related in any manner to the Target Tract.

RESPONSE:

5. Records of any appraisal(s) and evaluation(s) of the Target Tract.

RESPONSE:

6. Records of any examination, investigation or inspection of the Target Tract.

RESPONSE:
2 of 16
Case 2:24-cv-12106-DPH-APP ECF No. 23, PagelD.464 Filed 05/27/25 Page 1

7. Records relating to the allegations of fraud in the Complaint.

RESPONSE:

Dated: 2-SY -2025— PHILIP A. COSTELLO, PLLC

PhilixA. Costello

Attorney for Defendant
Frenchtown Square Partnership
111 §. Macomb Street
Monroe, MI 4816]

(734) 241-8300
pacostello@brblaw.net

Case 2:24-cv-12106-DPH-APP ECF No. 23, PagelD.465 Filed 05/27/25 Page 13 of 16

EXHIBIT B.
Case 2:24-cv-12106-DPH-APP ECF No. 23, PagelD.466 Filed 05/27/25 Page 14 of 16

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

RICHMOND MAIN, LLC,
A Michigan Limited Liability Company Hon. Denise Page Hood

Plaintiff, Civil Action No. 2:24-cv-12106

VS.

FRENCHTOWN SQUARE PARTNERSHIP,
An Ohio General Partnership

Defendant.

/
PHILLIP A. GREENBLATT, PLLC PHILIP A. COSTELLO, PLLC
Phillip A. Greenblatt (P54170) Philip A. Costello (P36075)
Attorney for Plaintiff Attorney for Defendant
P.O. Box 4270 111 S. Macomb Street
Southfield, Michigan 48037 Monroe, Michigan 48161
(248) 227-7350 (734) 241-8300
phil@phillipagreenblattpllc.com pascostello@brblaw.net

/

AFFIDAVIT OF PHILIP A. COSTELLO.
I, PHILIP A. COSTELLO, being duly sworn, hereby deposes and says the
following:
|. The matters attested to herein are based upon my personal knowledge or upon
records kept in the ordinary course of business.
2. Tam legally competent to testify under oath to the matters stated herein, and |

am not under any legal disability that would prevent me from testifying.
Case 2:24-cv-12106-DPH-APP ECF No. 23, PagelD.467 Filed 05/27/25 Page 15 of 16

3.

I currently represent Defendant Frenchtown Square Partnership

(“Defendant”) in the above-captioned matter,

- On or about February 14, 2025, on behalf of Defendant, I served Plaintiff

Richmond Main, LCC (“Plaintiff?) with Defendant’s F irst Request for
Production of Documents via email to Plaintiff's Counsel, Attorney Phillip A.

Greenblatt.

. On or about March 22, 2025, Plaintiff sent me its response, attached hereto as

Exhibit 1, which was deficient in a number of ways. On April 3, 2025, I
provided Plaintiff with a communication listing the deficiencies in its
response, attached hereto as Exhibit 2, requesting that Plaintiff supplement its

production in a timely manner.

. Since that date, despite significant effort, I have been unable to obtain

appropriate responses to Defendant’s First Request for Production of
Documents. Most recently, on or about May 2, 2025, Plaintiff's counsel said
he would get back to me on his supplemental responses within the next week.
As of the date of this affidavit, I have yet to receive the supplemented

production of documents.

oe
fiay 27 2025 LLL.

Dated PHP A. COSTELLO P36075
Case 2:24-cv-12106-DPH-APP ECF No. 23, PagelD.468 Filed 05/27/25 Page 16 of 16

STATE OF )
MICHIGAN

MONROE COUNTY )

Acknowledged before me in the City of Monroe, Monroe County, Michigan on
Vag at J , 2025, by Philip A. Costello.

js) Carre eandclrce

; . : CARRIE BEAUDRIE
Carrie Beaudrie, Notary public, "| Notary Publ, Sate of Michigan
State of Michigan, County of Monroe. Ne

My commission expires July 25, 2026.

uo
